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     IT IS ORDERED as set forth below:




        Date: February 22, 2024



___________________________________________________________________________




                                  IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE SOUTHERN DISTRICT OF GEORGIA

        IN RE:                                                )
                                                              )        CHAPTER 11
        RRG, INC.                                             )        CASE NO. 24-10075-SDB
                                                              )
                 DEBTOR.                                      )

         INTERIM ORDER 1 ON MOTION TO AUTHORIZE CRITICAL VENDOR PAYMENT
                               ON PREPETITION DEBT

                 Upon the Motion of RRG, Inc., the Debtor and Debtor-In-Possession in the above-

        captioned Chapter 11 case (the “Debtor”), to Authorize Critical Vendor Payment on Prepetition

        Debt (the “Motion”) 2, the Court finds as follows:

                                                           Jurisdiction

            1. This Court has jurisdiction over this Motion under 28 U.S.C. §§157 and 1334, Venue of

                 this proceeding is proper pursuant to 28 U.S.C. §§1408 and 1409. This is a core proceeding

                 within the meaning of 28 U.S.C. §157(b).

                                                          Background

            2. On January 31, 2024 (“Petition Date”), the Debtor filed its voluntary petition for relief

                 under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”). The

                 Debtor is authorized to operate its business as a debtor-in-possession pursuant to Sections

    1
        A black-line of this order is attached as Exhibit A, highlighting the changes made by the Court to the proposed order.
    2
        Terms not otherwise defined herein shall have the meaning set forth in the Motion.
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      1101, 1107, 1108 & 1182 of the Bankruptcy Code.

   3. The Debtor is a Popeye’s franchisee and operates multiple locations.

   4. Absent the protections set forth herein, Merchants has informed the Debtor that it will not

      provide goods and services to the Debtor.

   5. At the hearing, Debtor proffered, without objection, that (a) the goods and services

      provided by Merchants are critical to its operation in that its business could not continue

      to operate or provide a feasible plan without access to such goods and services; (b)

      without the terms provided by this order, Merchants would cease providing Debtor with

      such goods and services; and (c) disfavored creditors will be better off, or at least not

      worse, under the terms of this order.

              IT IS THEREFORE, ADJUDGED ORDERED AND DECREED THAT:

              a.     Upon (i) the allowance of the PACA Claim, the Admin Claim, the General

              Unsecured Claim in the amounts set forth in Paragraphs 5(b), 5(c), and 5(d); (ii) the

              payment of the amount set forth in Paragraph 5(b); (iii) the treatment set forth

              herein below of the New Shipments, and (iv) the waiver of claims, if any, against

              Merchants, Merchants shall continue to supply to the Debtor the food necessary to

              run its business and will provide 7-day terms credit to the extent the Debtor

              complies with the terms of this Order (the “New Shipments”), which, in accordance

              with Section 364(c)(1) of the Bankruptcy Code, the amount of New Shipments shall

              be entitled to priority over any other administrative expense claim of the kind

              specified in Sections 503 or 507 of the Bankruptcy Code; provided, however,

              Merchants will continue to provide goods and services to the Debtor after the PACA

              Claim is paid in full until the expiration of the Challenge Period (as set forth below),

              and thereafter if no Challenge has been filed and the conditions in this paragraph

              are satisfied;
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          b. Merchants asserts that it has a Perishable Agricultural Commodities Act Claim

             against Debtor in the amount of $88,001.49 (the “PACA Claim”), which claim

             shall be paid in full by March 1, 2024;

          c. Merchants asserts that it has an 11 U.S.C. §503(b)(9) claim against Debtor in the

             amount of $397,414.02 (the “Admin Claim”);

          d. Merchants asserts that it has general unsecured claim against Debtor in the

             amount of $348,116.03 (the “General Unsecured Claim”);

          e. Debtor hereby waives any claim or cause of action against Merchants, if any, arising

             under Chapter 5 of the Bankruptcy Code;

          f. the Debtor shall make payments to Merchants in the amount of $15,000.00 per

             week which shall be applied first to the claim set forth in Paragraphs 5(d).

          g. Any party may challenge (“Challenge”) the validity of (i) the allowance of the

             PACA Claim, the Admin Claim, the General Unsecured Claim in the amounts set

             forth in Paragraphs 5(b)-(d); or (ii) the waiver set forth in Paragraph 5(e) within

             thirty (30) days (the “Challenge Period”) of the entry date of this Order. Failure of any

             party to assert a Challenge shall be forever barred from asserting such a Challenge at any

             time, and the claims and waiver described herein shall be binding on the Debtor and its

             estate, and its and their creditors.

          h. The notice provisions of Bankruptcy Rule 6004(a) and (h) are hereby waived.

                                      [END OF DOCUMENT]

PRESENTED BY:

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